        Case 2:21-mc-01230-JFC Document 2573 Filed 03/11/24 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-
 LEVEL PAP, AND MECHANICAL                         Master Docket: No. 21-mc-1230-JFC
 VENTILATOR PRODUCTS LIABILITY
 LITIGATION                                        MDL No. 3014
 This Document Relates To:
                                                   (Oral Argument Requested)
 Second Amended Master Long Form
 Complaint For Personal Injuries And
 Damages, And Demand For Jury Trial
 (ECF No. 2505)


      PHILIPS RS NORTH AMERICA LLC’S MOTION TO DISMISS PURSUANT TO
            FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) AND 12(b)(6)

        Defendant Philips RS North America LLC (“Respironics”) respectfully moves to dismiss

Plaintiffs’ Second Amended Master Long Form Complaint for Personal Injuries and Damages

(ECF No. 2505) (the “PISAC”), pursuant to Federal Rules of Civil Procedure 12(b)(1) and (6).

        For the reasons set out more fully in the accompanying Memorandum of Law (“Mem.”)

and Exhibits A-D thereto, Respironics moves to dismiss the claims that are the subject of this

motion with prejudice. Not only have Plaintiffs already had ample opportunity to amend their

allegations, but any dismissal should be with prejudice because Plaintiffs cannot cure the PISAC’s

numerous legal deficiencies through repleading. See Tatel v. Mt. Lebanon Sch. Dist., No. CV 22-

837, 2022 WL 15523185, at *7 (W.D. Pa. Oct. 27, 2022) (Conti, J.).

 1.     Dismissal of Plaintiffs’ negligent recall and negligent failure to recall claims (Counts

        VI(1) and VI(2)) with prejudice under Rule 12(b)(6) because these claims are preempted

        by federal law. See Mem. Section I.A.
     Case 2:21-mc-01230-JFC Document 2573 Filed 03/11/24 Page 2 of 5




2.   Dismissal of Plaintiffs’ negligent recall claim (Count VI (2)) with prejudice under Rule

     12(b)(6) because this claim also fails pursuant to the primary jurisdiction doctrine. See

     Mem. Section I.B.

3.   Dismissal of Plaintiffs’ negligent failure to recall claim (Count VI (1)) under the laws of

     Illinois and Oklahoma, with prejudice under Rule 12(b)(6), because those jurisdictions do

     not recognize such a claim as an independent cause of action. See Mem. Section I.C.

4.   Dismissal of Plaintiffs’ negligence per se claim (Count XV) under the laws of Delaware,

     Oregon, Rhode Island, and Wisconsin, with prejudice under Rule 12(b)(6), because those

     jurisdictions do not recognize such a claim as an independent cause of action. See Mem.

     Section II.

5.   Dismissal of Plaintiffs’ following claims, with prejudice under Rule 12(b)(6), because they

     are subsumed by state product liability acts:

           Plaintiffs’ breach of warranty claims (Counts X through XII) under Indiana law

            (Mem. Section III.A);

           Plaintiffs’ fraud claim (Count XIII) under the laws of Kansas, Mississippi, Ohio,

            and Tennessee (Mem. Section III.B); and

           Plaintiffs’ consumer protection claims (Counts XVI (14), (22), (27)) under the laws

            of Indiana, Mississippi, and New Jersey (Mem. Section III.C).

6.   Dismissal of, or alternatively striking, Plaintiffs’ product liability act claims (Counts XXV,

     XXVI, XXVIII, XXIX), with prejudice under Rule 12(b)(6), to the extent that Plaintiffs

     attempt to base those claims on theories of liability unavailable under each statute. See

     Mem. Section IV.




                                               2
     Case 2:21-mc-01230-JFC Document 2573 Filed 03/11/24 Page 3 of 5




7.   Dismissal of, or alternatively striking, Plaintiffs’ product liability act claims (Counts

     XXIII through XXXI) with prejudice under Rule 12(b)(6) to the extent that Plaintiffs

     attempt to base those claims on theories of liability that correspond to common law claims

     that the Court determines must be dismissed. See Mem. Section IV.

8.   Dismissal of Plaintiffs’ fraud claim (Count XIII) under the laws of Arkansas, Florida,

     Georgia, Illinois, Maryland, Massachusetts, Mississippi, Nevada, Ohio, Oregon,

     Pennsylvania, South Dakota, and Virginia, with prejudice under Rule 12(b)(6), for failure

     to allege a confidential or fiduciary relationship with Respironics. See Mem. Section V.

9.   Dismissal of Plaintiffs’ following consumer protection claims, with prejudice under Rule

     12(b)(6):

           Count XVI (31) because the relevant statute precludes private rights of action for

            damages (Mem. Section IV.A);

           Count XVI (37) because the relevant statute precludes personal injury claims

            (Mem. Section IV.B);

           Counts XVI (1), (4), (9), (13), (14), (16), (17), (19), (22), (23), (24), (34), (39),

            (40), (41), and (43) because the relevant statutes apply only to claims involving

            consumer goods, which prescription medical devices are not (Mem. Section IV.C);

           Count XVI (42) because omissions are not actionable under the relevant statute

            (Mem. Section IV.D);

           Counts XVI (4), (14), (18), (41) and (43) because Plaintiffs do not allege that they

            met preconditions to filing suit under the relevant statutes (Mem. Section IV.E);

           Count XVI (22) because Plaintiffs do not allege compliance with the statutory

            prerequisites to filing suit (Mem. Section IV.F); and



                                              3
      Case 2:21-mc-01230-JFC Document 2573 Filed 03/11/24 Page 4 of 5




            Count XVI (1) because Plaintiffs have procedurally waived any claim under the

             relevant statute (Mem. Section IV.G).

10.   Dismissal of Plaintiffs’ following consumer protection claims, with prejudice under Rules

      12(b)(1) and 12(b)(6):

            Counts XVI (1), (4), (11), (12), (16) (22), (23), (24), (34), and (41) for lack of

             statutory standing to the extent the claims are brought by Plaintiffs who allege only

             to have “used,” and not leased or purchased, a device (Mem. Section IV.H); and

            Counts XVI (7) and (13) for lack of statutory standing to the extent the claims are

             brought by Plaintiffs who allege only to have “used” or “leased,” and not purchased,

             a device (Mem. Section IV.H).


Dated: March 11, 2024                              Respectfully Submitted,

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                                               4
       Case 2:21-mc-01230-JFC Document 2573 Filed 03/11/24 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that on March 11, 2024, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF system.


                                                   /s/ John P. Lavelle, Jr.
                                                   John P. Lavelle, Jr.
